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WALDEN
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a HARAN LLP

Via E-mail

The Honorable Alvin K. Hellerstein
United States District Judge
Southern District of New York

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New York, NY 10007

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February 10, 2022

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Re: United States v. Nicholas Truglia, 19-cr-00921]-AKH-1

Dear Judge Hellerstein:

We represent Defendant Nicholas Truglia in the above-noted case. As the Court is aware, we have
requested that our psychologist, Dr. Barry Katz, conduct a psychological evaluation of Mr. Truglia
to identify potential information that could be useful to the Court at sentencing. This process,
which had been well underway, has been delayed since late December 2021 due to the uptick in
COVID-19 cases during the Omicron wave, which made it impossible for Dr. Katz to visit the
Defendant at the Essex County Correctional Facility.

We therefore write to respectfully request that the Court adjourn the sentencing date, currently
scheduled for March 25, 2022, for an additional 60 days. The Government consents to this

request.

ce: AUSA Timothy Capozzi

Respectfully submitted,

/s/ Jeffrey A. Udell
Jeffrey A. Udell

 

U.S. Probation Officer Johnny Y. Kim
